    Case 1:24-cr-00542-AS         Document 132        Filed 01/19/25      Page 1 of 1




                                     January 19, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        We have reviewed the Government’s January 17, 2025, submission enclosing
affidavits from AUSA Christy Slavik and Investigator-1. We respectfully request
permission to respond to these affidavits, in further support of Combs’ Motion for a Hearing
(Dkt. 70), by Friday, January 24, 2025. Thank you for your consideration.

                                               Respectfully submitted,



                                               Marc Agnifilo
                                               Teny Geragos
                                               AGNIFILO INTRATER
                                               445 Park Ave., 7th Fl.
                                               New York, NY 10022
                                               646-205-4350
                                               marc@agilawgroup.com
                                               teny@agilawgroup.com

                                               Alexandra Shapiro
                                               Shapiro Arato Bach LLP
                                               1140 Avenue of the Americas, 17th Fl.
                                               New York, NY 10036
                                               (212) 257-4881
                                               ashapiro@shapiroarato.com

                                               Anna Estevao
                                               SHER TREMONTE LLP
                                               90 Broad St., 23rd Fl.
                                               New York, NY 10004
                                               (212) 202-2600
                                               aestevao@shertremonte.com
